            Case 2:05-cr-00182-MJP        Document 162        Filed 01/09/06   Page 1 of 5



 1                                                             The Honorable Marsha J. Pechman
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 8                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 9                                       AT SEATTLE
10
     UNITED STATES OF AMERICA,                        )
11                                                    )       NO.    CR05-182P
                             Plaintiff,               )
12                                                    )
                   v.                                 )       ORDER SETTING NEW TRIAL
13                                                    )       DATE
     DOLLY ANN COOPER,                                )
14       a/k/a “Sunsha Rosea Cervantas,”              )
         a/k/a “Diane Pace,”                          )
15       a/k/a “Jasmine Monique Salazar,”             )
         a/k/a “Donna Smith,”                         )
16                                                    )
                             Defendant.               )
17                                                        )
18          THIS MATTER comes before the Court for purposes of setting a new trial date.
19   The Court, having reviewed the file in this matter, and being otherwise fully advised, finds
20   and rules as follows:
21          1.     Defendant Dolly Ann Cooper was originally charged along with six other
22   defendants in a multi-count indictment alleging a conspiracy to make and pass counterfeit
23   traveler’s cheques, and multiple substantive offenses related to that same offense. The
24   indictment was filed on May 4, 2005.
25          2.     Ms. Cooper was arrested pursuant to a warrant on May 10, 2005, and had
26   her initial appearance and arraignment that same day. Trial was set for July 18, 2005.
27          3.     A detention hearing was held for Ms. Cooper on May 11, 2005. The
28   Government withdrew its motion for detention upon reviewing the pretrial services report.

     ORDER SETTING NEW TRIAL DATE/                                                UNITED STATES ATTORNEY
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             Case 2:05-cr-00182-MJP       Document 162       Filed 01/09/06     Page 2 of 5



 1   Ms. Cooper was released on bond with pretrial supervision. Among other conditions, the
 2   bond placed Ms. Cooper on electronic home monitoring; prohibited her from possessing
 3   identification documents in any name other than her own; and required her to report any
 4   contact with law enforcement within one business day.
 5           4.    Trial was subsequently continued several times based on stipulated motions
 6   filed by the parties for good and sufficient reasons. In connection with the last motion to
 7   continue, Ms. Cooper herself filed a waiver of her speedy trial right through December of
 8   2005.
 9           5.    The last trial date set by the Court was October 17, 2005.
10           6.    On or about July 10, 2005, Ms. Cooper was stopped for a traffic law
11   violation. At that time, Ms. Cooper produced a Washington State Identification Card in
12   the name Sunsha Rosea Lobey, in apparent violation of one of the conditions of pretrial
13   supervision. Ms. Cooper also failed to report this contact with law enforcement to pretrial
14   services.
15           7.    On or about September 16, 2005, Pretrial Services presented a Petition for
16   Summons for Ms. Cooper related to the alleged violation referenced above. Magistrate
17   Judge Monica J. Benton instead issued a warrant for Ms. Cooper’s arrest, but instructed
18   the Pretrial Services officer that she should call Ms. Cooper and instruct her to self-
19   surrender by 4:00 p.m. the next day as a courtesy.
20           8.    Ms. Cooper failed to self-surrender; instead, she absconded from her home,
21   in violation of the conditions of supervision including the electronic home monitoring
22   condition.
23           9.    In the meantime, all other defendants in this matter pleaded guilty, and are
24   currently pending sentencing.
25           10.   Ms. Cooper remained a fugitive as of the scheduled trial date of October 17,
26   2005.
27           11.   Ms. Cooper was arrested pursuant to the warrant issued by Magistrate Judge
28   Benton on December 2, 2005; approximately 72 days after the issuance of the warrant,

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               Case 2:05-cr-00182-MJP      Document 162        Filed 01/09/06     Page 3 of 5



 1   and approximately 46 days after the last-scheduled trial date of October 17, 2005. She
 2   had her initial appearance that same day. At the hearing, Ms. Cooper’s lawyer concurred
 3   with the facts set forth above, but advanced arguments in mitigation and asked for her
 4   release. Defendant was ordered detained, and remains in custody at the Federal Detention
 5   Center.
 6          12.     Both the Defense counsel and the Government are unavailable the week of
 7   February 6, 2005. Defense counsel has a long-scheduled vacation set that week, and the
 8   AUSA assigned to this matter is scheduled to attend training at the National Advocacy
 9   Center that same week. The Court’s trial schedule precludes a trial prior to that date.
10          13.     In addition, the parties require additional time to resolve the case and, if that
11   is not possible, to prepare for trial. This is due to new issues raised by Ms. Cooper’s
12   absence on the trial date, and possible new charges for that failure to appear pursuant to 18
13   U.S.C. 3146.
14          14.     In addition, the Defense needs additional time to prepare for trial, given the
15   resolution of this case against other defendants, and the willingness of some of these co-
16   defendants to testify against Ms. Cooper.
17          15.     Ms. Cooper’s counsel has indicated that she is willing to waive her speedy
18   trail rights through the end of March, 2006.
19          Based on the foregoing factual findings, the Court concludes as follows:
20          1.      Pursuant to 18 U.S.C. § 3161(k)(1), if the defendant is absent on the day of
21   trial; and the defendant’s subsequent appearance on a bench warrant is more than 21 days
22   after the date set for trial; then the defendant is deemed to have had her first appearance on
23   the charges at her initial appearance on that bench warrant.
24          2.      Ms. Cooper had her initial appearance on the bench warrant issued for her
25   violation of the conditions of her bond on December 2, 2005. Accordingly, the Court
26   finds that the time to bring the Defendant to trial ends, unless otherwise extended, on
27   February 10, 2006, pursuant to 18 U.S.C. §§ 3161(c)(1) and (k)(1).
28


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            Case 2:05-cr-00182-MJP          Document 162       Filed 01/09/06     Page 4 of 5



 1          3.       Counsel for both Ms. Cooper are unavailable the week of February 6, 2005
 2   due to previously scheduled travel commitments. The Court finds that depriving both
 3   parties of continuity of counsel would not serve the ends of justice, within the meaning of
 4   18 U.S.C. §§ 3161(h)(8)(A) and (h)(8)(B)(iv); and that this need outweighs the best
 5   interest of the public and the defendant in a speedy trial.
 6          4.       In addition, the Court finds that counsel for the Defendant needs additional
 7   time to resolve this matter, and if that is not possible, to effectively prepare for trial. The
 8   Court finds that this need is due the possibility of new charges for her failure to appear,
 9   and the existence of new witnesses due to the resolution of this case against other
10   Defendants.
11          5.       The Court further finds that this need for additional time exists despite the
12   exercise of due diligence by both parties; and that denying additional time would not be in
13   the interests of justice, which outweighs the public and the defendant’s interest in a speedy
14   trial, again pursuant to 18 U.S.C. §§ 3161(h)(8)(A) and (h)(8)(B)(iv).
15          NOW, THEREFORE, it is hereby ORDERED that this matter is set for trial on
16   March 6, 2006. Defendant shall file a speedy trial waiver no later than January 3, 2006.
17          So Ordered this 9th day of January, 2006.
18

19                                        /S/Marsha J. Pechman
                                          THE HONORABLE MARSHA J. PECHMAN
20                                        United States District Court Judge
21
     Presented by:
22
     s/ Vincent T. Lombardi
23   VINCENT T. LOMBARDI WSB # 21967
     Assistant United States Attorney
24   U.S. Attorneys' Office
     700 Stewart Street, Suite 5220
25   Seattle, WA 98101
     Phone: (206) 553-5178 Fax:       (206) 553-0755
26   Email: Vince.Lombardi@usdoj.gov

27   APPROVED, NOTICE OF PRESENTATION WAIVED

28
     s/ Peter Mazzone

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           Case 2:05-cr-00182-MJP       Document 162   Filed 01/09/06   Page 5 of 5



 1   PETER MAZZONE (via telephone authority 12/22/05)
     Attorney for Defendant Dolly Ann Cooper
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